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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 9:21-cv-81995-AMC

   RMST HOLDING COMPANY, INC., et al.

           Plaintiffs,
   v.

   PREMIUM 72 CAPITAL, LLC, et al.

         Defendants.
   _________________________________/

   BYLINE BANK,                                            Consolidated Action: 22-80838-CIV-AMC

           Plaintiff,
   v.
   PREMIUM 72 CAPITAL LLC, et al.

         Defendants.
   _________________________________/


                         MOTION FOR CLARIFICATION OF ECF NO. 209

           Plaintiffs RMST Holding Company, Inc. (“RMST”), R.M. Stark & Co., Inc. (“RM Stark”)

   and Gary L. Stark (“Mr. Stark”) (collectively, “Stark Plaintiffs”) hereby file their Motion for

   Clarification of ECF No. 209. Specifically, the Stark Plaintiffs request clarification from the Court

   on Byline Bank’s ability to foreclose on RMST’s assets, which Defendant Arturo Nicolayevsky

   (“Nicolayevsky”) improperly pledged as collateral to secure repayment of loans made by Byline

   to entities other than the Stark Plaintiffs. In support of this Motion, the Stark Plaintiffs state:

   I.      THE DEFAULT JUDGMENT AND SECURITY AGREEMENTS

           On April 4, 2023 this Court entered a judgment (“Default Judgment”), ECF No. 209, in

   favor of Consolidated Plaintiff Byline Bank (“Byline”) against Defendants Nicolayevsky,
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   Premium 72 Capital, LLC (formerly known as OPC Advisors, LLC), and Aynbet Investments,

   LLC (collectively “Defaulting Defendants”). The Default Judgment concerned the Defaulting

   Defendants’ liability to Byline under two loans: (1) the Loan Agreement dated December 31, 2019

   (the “2019 Loan”); and (2) the Loan Agreement dated December 28, 2020 (the “2020 Loan”)

   (collectively the “Loans”). ECF Nos. 117-10 and 117-30. Byline granted the Loans to entities

   owned and controlled by Nicolayevsky, i.e., Premium 72 Capital, LLC (formerly known as OPC

   Advisors, LLC), and Aynbet Investments, LLC. Additionally, Nicolayevsky purported to make

   RMST a party to the Loans, without the authorization or knowledge of RMST, or any of the other

   Stark Plaintiffs. Worse still, Nicolayevsky executed two Security Agreements on behalf of RMST,

   again without the authority or knowledge of the Stark Plaintiffs, purporting to pledge RMST’s

   assets as collateral for repayment of the Loans. However, no default judgment has been entered

   against RMST. RMST is separately represented and is not in default on any of Byline’s claims.

   Moreover, RMST has its own claims against the Defaulting Defendants and Byline, including but

   not limited to claims challenging the enforceability of the Loans against it.

          Notwithstanding the lack of judgment against RMST, Default Judgment paragraph two (2)

   provides that “Byline Bank may foreclose on the collateral pledged as security in the 2019 Security

   Agreements [ECF 100-1 pp. 45-62] and 2020 Security Agreement [ECF No. 100-1 pp. 100-07].”

   The pages the Court references regarding the “2019 Security Agreements” contain three (3)

   separate security agreements:

              1. December 31, 2019 Security Agreement executed by Arturo Nicolayevsky,

                  purportedly on behalf of RMST Holding Company, Inc. (purportedly as “President”

                  of RMST) (the “2019 RMST Security Agreement”);



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             2. December 31, 2019 Security Agreement executed by Arturo Nicolayevsky on

                 behalf of Aynbet Investments, LLC (the “2019 Aynbet Security Agreement”); and

             3. December 31, 2019 Security Agreement executed by Arturo Nicolayevsky on

                 behalf of OPC Advisors, LLC (the “2019 OPC Advisors, LLC Security

                 Agreement”).

          The pages the Court references regarding the “2020 Security Agreement” contain a single

   security agreement, to which Premium 72 Capital, LLC; Aynbet Investments, LLC; and RMST

   Holding Company, Inc. are all purportedly parties. Nicolayevsky executed the 2020 Security

   Agreement on December 28, 2020 purportedly on behalf of all three entities.

          The description of the collateral is identical in all four security agreements referenced in

   the Default Judgment:

          “All goods, inventory, equipment, accounts (including but not limited to all health-
          care-insurance receivables), chattel paper (whether tangible or electronic),
          instruments (including but not limited to all promissory notes), letter-of-credit
          rights, letters of credit, documents, deposits accounts, investment property, money,
          commercial tort claims, contract rights and other rights to payment and
          performance (including but not limited to grant monies), insurance claims and
          proceeds, and general intangibles (including but not limited to all software and all
          payment intangibles); all oil, gas and other minerals before extraction; all oil, gas,
          other minerals and accounts constituting as-extracted collateral; all fixtures; all
          timber to be cut; all attachments, accessions, accessories, fittings, increases, tools,
          parts, repairs, supplies, and commingled goods relating to the foregoing property,
          and all additions, replacements of and substitutions for all or any part of the
          foregoing property; all insurance refunds relating to the foregoing property; all
          goodwill relating to the foregoing property; all records and data and embedded
          software relating to the foregoing property, and all equipment, inventory and
          software to utilize, create, maintain and process and such records and data on
          electronic media; and all supporting obligations relating to the foregoing property;
          all whether now existing or hereafter arising, whether now owned or hereafter
          acquired or whether now or hereafter subject to any rights in the foregoing property;
          and all products and proceeds (including but not limited to all insurance payments)
          of or relating to the foregoing property.



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   ECF No. 100-1 pp. 50, 56, 62, 107.

   II.    BYLINE SHOULD NOT BE PERMITTED TO FORECLOSE ON RMST’S ASSETS
          BECAUSE THERE IS NO JUDGMENT AGAINST RMST

          As referenced above, the Default Judgment specifies Byline’s right to foreclose on all three

   2019 Security Agreements and the 2020 Security Agreement. However, RMST is the named

   counter-party on the 2019 RMST Security Agreement and is purportedly a party to the 2020

   Security Agreement. Importantly, however, the Default Judgment was entered in Byline’s favor

   only against Defendants Premium 72 Capital LLC, Aynbet Investments LLC, and Nicolayevsky.

   The Default Judgment was not entered against RMST. RMST is separately represented from the

   defaulting Defendants and has its own claims against the defaulting Defendants. Moreover, RMST

   has pending declaratory judgment claims challenging the validity of, inter alia, the 2019 RMST

   Security Agreement and its status as a purported party to the 2020 Security Agreement. Even

   though there has been no judgment entered against RMST, the Default Judgment seemingly gives

   Byline the right to foreclose on the 2019 RMST Security Agreement and the 2020 Security

   Agreement as it relates to RMST. RMST’s assets should not be exposed to risks of Byline

   foreclosure under Byline’s Default Judgment against the Defaulting Defendants where there is no

   judgment against RMST. The Stark Plaintiffs take no issue with Byline’s rights to foreclose on

   the assets of the parties against whom the Default Judgment was entered; specifically

   Nicolayevsky, Premium Capital 72 LLC, and Aynbet Investments LLC. However, to

   simultaneously allow foreclosure against RMST’s assets based on the default of the other

   Defendants is an untenable result.




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   III.   RMST’S CLAIMS REMAIN PENDING

          Further, as this Court is aware, the legitimacy of the Loans that Nicolayevsky improperly

   entered into on RMST’s behalf and Nicolayevsky’s authority to pledge RMST’s assets as collateral

   are vigorously disputed in this case. The Stark Plaintiffs have multiple ongoing claims against

   Nicolayevsky and Byline in relation to the Loans before this Court. Claims connected to the Loans

   of Civil Theft, Conversion, Aiding and Abetting Civil Theft, Aiding and Abetting Conversion,

   Negligence, Gross Negligence, and five (5) requests for Declaratory Relief all remain pending.

   The Stark Plaintiffs’ pending Declaratory Relief claims seek declarations as to, inter alia: the

   enforceability of the Loans (and other loans taken by the Defaulting Defendants) against the Stark

   Plaintiffs; the status of Nicolayevsky’ unilateral and ultra vires actions on behalf of RMST and

   RM Stark being void as a matter of law; and the priority of interest in the Loans. Additionally, the

   Stark Plaintiffs’ motion to dismiss Byline’s complaint (ECF. No 101) is also still pending before

   this Court. Substantive issues that will affect the outcome of those claims have yet to be

   adjudicated.

          Without the Stark Plaintiffs’ authorization, participation, or knowledge, Byline granted the

   Loans to unauthorized third parties and wrongfully encumbered RMST’s assets. Not only did the

   Stark Plaintiffs never approve of the Loans, none of them ever received any of the Loan proceeds

   nor benefited from the Loans. If Byline is permitted to foreclose on RMST’s assets pursuant to

   the Default Judgment against the Defaulting Defendants, the Stark Plaintiffs’ claims regarding the

   illegitimacy of the Loans would be rendered moot. Byline could effectively deny the Stark

   Plaintiffs’ claims before this Court has adjudicated them on their merits. Unauthorized loans taken

   between Byline and the Defaulting Defendants, without the Stark Plaintiffs’ knowledge or



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   participation, gave rise to the Stark Plaintiffs’ claims. Those same claims now can be effectively

   terminated via Byline’s foreclosure on RMST assets pursuant to a judgment not against RMST,

   but against the Defaulting Defendants. It would be an irrevocable injustice to allow Byline and

   the Defaulting Defendants to continue to determine RMST’s assets and fate.

          A.       Claims and Issues Remaining Before this Court

          The Stark Plaintiffs currently have seven (7) causes of action asserted against Byline before

   this Court: (1) Count XIII: Aiding and Abetting Civil Theft; (2) Count XV: Aiding and Abetting

   Conversion; (3) Count XVI: Negligence; (4) Count XVII: Gross Negligence; (5) Count XVIII:

   Declaratory Relief; (6) Count XXVI: Declaratory Relief; (7) Count XXIX: Declaratory Relief.

   Counts XVIII, XXVI, and XXIX specifically seek Declaratory Relief from this Court in finding

   that the Loans Byline improperly granted Defaulting Defendants are unenforceable against RMST

   and RM Stark.

          B.       Nicolayevsky Purportedly Executing the Loans and Security Agreements on
                   RMST’s Behalf Should Not Circumvent Adjudication of Pending Issues and
                   Claims

          Nicolayevsky and the other Defendants lacked the requisite authority to bind RMST to the

   Loans. An agency relationship vesting a person with actual authority to act on a principal's behalf

   requires (1) the principal's acknowledgement that the agent will act for it; (2) the agent's acceptance

   of the undertaking; and (3) the principal's control of the agent's actions. Durham Com. Cap. Corp.

   v. Select Portfolio Servicing, Inc., No. 3:14-CV-877-J-34PDB, 2016 WL 6071633, at *20 (M.D.

   Fla. Oct. 17, 2016) (citation omitted). Apparent authority exists only “when the principal creates

   the appearance of an agency relationship.” Id. (citation omitted). None of the Stark Plaintiffs

   acknowledged that Nicolayevsky could act for RMST nor did they control Nicolayevsky’s actions.



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   Nicolayevsky never had actual authority to enter into loans on RMST’s behalf and neither RMST

   nor the other Stark Plaintiffs ever ratified Nicolayevsky’s illegitimately procured Loans. Likewise,

   neither RMST nor the other Stark Plaintiffs ever created an appearance that Nicolayevsky had

   authority to bind RMST to Byline’s Loans; nor can it be said that Nicolayevsky’s unapproved

   conduct unilaterally created such apparent authority. Nicolayevsky had no authority from RMST

   or any of the Stark Plaintiffs, either actual or apparent, to enter into the Loans nor bind RMST’s

   assets thereto.

           It is well settled and only logical that “one cannot incumber (sic) another man’s property

   in the absence of consent, estoppel or some other special rule.” First Southern Ins. Co. v. Ocean

   State Bank, 562 So.2d 789, 799 (Fla. 1st DCA 1990). In Florida, this fundamental fact is codified

   in Section 679.2031(2) (“§679.2031(2)”) of Florida's Uniform Commercial Code. Under

   §679.2031 a security interest attaches and is enforceable against the debtor and third parties only

   when: 1) the secured party has given value; 2) the debtor 1 has rights in the collateral or the

   power to transfer rights; and 3) there is an authenticated security agreement that describes the

   collateral. (Emphasis added). Courts applying §679.2031(2) have properly found that when a

   person or entity secures a loan by pledging collateral that they have no right in, the collateral does

   not attach and the creditor has no interest therein. See In re Boca Arena, Inc., 237 B.R. 221, 224

   (Bankr. S.D. Fla 1999) (holding that pledged collateral was not asset of debtor but of his wholly

   owned corporation, and debtor’s disregard of separate legal identity of corporation made it

   impossible to find that the corporation consented to use of stock as collateral; thus creditor’s


   1
    Although it was RMST who became the obligator under the Loans, the “debtor” in the current matter for the purposes
   of interpreting §679.2031(2) is Nicolayevsky and the other Defendants; the parties who wrongfully pledged RMST
   assets in obtaining the Loans for themselves. RMST, who never entered into any loan with Byline, in no way, shape,
   or form can be considered the debtor in this matter.

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   security interest did not attach to stock, as debtor never acquired rights therein). See also First

   Southern Ins. (wherein pledged collateral did not attach and creditor had no interest in collateral

   when an employee altered the title of a company car and then used the altered title to secure a

   personal loan). See also In re Jenes, 18 B.R. 498 (Bankr. S.D. Fla. 1982) (where credit union had

   no security interest in debtor’s automobile due to the fact that the third party who took the loan

   and encumbered the automobile did so without debtor’s knowledge or authority and at no time had

   any right in the automobile).

          In the current matter, Nicolayevsky and the other Defaulting Defendants sought to

   personally benefit by encumbering RMST’s assets under the Loans without any rights, or the

   power to transfer rights, therein. The Stark Plaintiffs have properly alleged that Byline willfully

   and knowingly provided the Defaulting Defendants with proceeds from the Loans even though

   Byline was aware that Defaulting Defendants did not have authority to enter into the Loans on

   behalf of RMST. Even if Byline were not aware that the Defaulting Defendants did not have the

   right or authority to pledge RMST’s assets, such awareness is inapposite under §679.2031(2).

   Pursuant to §679.2031(2), and as illustrated by the decisions discussed above, collateral does not

   attach when the pledger has no rights to pledge it; regardless of the creditor’s knowledge thereto.

          The Stark Plaintiffs’ claims regarding the enforceability of the Loans and the Defaulting

   Defendants’ inability to attach RMST’s assets to the Loans remain before this Court. Byline

   foreclosing on RMST’s assets under the Default Judgment presents an unacceptable risk that the

   Stark Plaintiffs’ interests and claims will be prematurely extinguished. Additionally, the Stark

   Plaintiffs’ claims against Byline for aiding and abetting Nicolayevsky and the other Defaulting

   Defendants also remain pending before this Court. If Byline is permitted to foreclose on RMST



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   assets, the Stark Plaintiffs’ claims against Byline would also be circumvented before their proper

   resolution. The Stark Plaintiff’s deserve the right to fully pursue their claims before this Court.

   IV.       ADDITIONAL CONSIDERATIONS                    REGARDING         POTENTIAL         BYLINE
             FORECLOSURE

             Equity in and ownership of RM Stark is included in the collateral that Byline can foreclose

   on under the Default Judgment. However, RM Stark is a FINRA-registered broker/dealer. Parties

   to the transfer of ownership or control of a registered broker/dealer must comply with strict

   procedures such as obtaining FINRA approval of a Continuing Membership Application and

   timely filing application fees.    See FINRA Rules 1012 and 1017. Broker/dealers who do not

   comply with the SEC and FINRA’s strict procedures can face harsh penalties including the loss of

   FINRA membership and their ability to conduct business.

             The Stark Plaintiffs vehemently state that any finding legitimatizing Byline and the

   Defaulting Defendants’ unauthorized and improper entry into the Loans, and wrongful

   encumbrance of RMST’s assets related thereto, would be a miscarriage of justice.                Such

   miscarriage would be compounded and spread to RM Stark customers should transfer of RM Stark

   ownership and control be thoughtlessly handled via sudden Byline foreclosure under the Default

   Judgment. If any foreclosure is not handled meticulously and with great care, RM Stark could be

   forced to close, leaving its customers and their assets under RM Stark’s management in peril.

   Without clarification regarding Byline’s ability to foreclose on RMST assets under the Default

   Judgment, such injustice could occur before final adjudication on the merits of the Stark Plaintiffs’

   claims regarding the unenforceability of the Loans and the illegitimate encumbrance of RMST’s

   assets.




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   V.     REQUEST FOR CLARIFICATION

          As shown in the Stark Plaintiffs’ Third Amended Complaint (ECF No. 117), Response in

   Opposition to Byline Bank’s Motion to Dismiss Third Amended Complaint (ECF No. 199), and

   above, there remain bona fide and continuing disputes before this Court regarding the

   enforceability of the Loans. There also remains bona fide and continuing controversy as to the

   attachment of RMST’s assets as collateral to the Loans before this Court. Bylines Default

   Judgment against the Defaulting Defendants should entitle them to foreclose only on the assets of

   the Defaulting Defendants. Without clarification from this Court, there is a substantial risk of

   Byline premature foreclosure on RMST assets. Foreclosure that would irrevocably harm the Stark

   Plaintiffs’ interests and rights, and render their claims moot before their final adjudication. Byline

   should not be allowed to extinguish the Stark Plaintiffs’ claims against them via a Default

   Judgment against the third-parties responsible for improperly benefitting from and encumbering

   RMST assets under the unauthorized Loans.

          In light of the foregoing, the Stark Plaintiffs respectfully ask this Court to clarify ECF No.

   209 by entering an Order, or modifying the language of ECF No. 209, to indicate that Byline may

   foreclose on the collateral referenced in:

              1. The 2019 Aynbet Security Agreement;

              2. The 2019 OPC Advisors, LLC Security Agreement; and/or

              3. The 2020 Security Agreement, except as to collateral belonging to RMST.




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   Dated: May 1, 2023                        Respectfully Submitted,


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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 1st day of May, 2023, a copy of the foregoing has been
   electronically filed with the Clerk of Court using CM/ECF and is being served via Electronic Mail
   on parties having appeared in this matter.
          I further certify that the following parties will be served by regular U.S. Mail:
                  Zahav Asset Management, LLC
                  Kingdom Logistics, LLC
                  Prompt Capital Funding, LLC
                  Pinnacle Business Funding, LLC
                  Bitty Advance 2, LLC



                                                          By: /s/ Richard T. Lobas




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